        Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 1 of 19




                IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 TOMMIA DEAN,

                 Plaintiff

 v.
                                               CIVIL ACTION
SAMUEL S. OLENS, EARL                          FILE NO.: 1:18-cv-04224-TCB
EHRHART, NEIL WARREN,
SCOTT WHITLOCK and MATT
GRIFFIN,

               Defendants.



         PLAINTIFF’S RESPONSE TO DEFENDANT EHRHART’S

                                MOTION TO DISMISS

      Plaintiff Tommia Dean files this Response to Defendant Earl Ehrhart’s

Motion to Dismiss (Doc. 14).

                             SUMMARY OF ARGUMENT

      Though the standard under the Federal Rules of Civil Procedure 12(b)(6)

and Iqbal requires that all allegations in the Plaintiff’s Complaint be taken as true,

Defendant Ehrhart shows remarkably little interest in the actual allegations stated

in the Plaintiff’s Complaint.
          Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 2 of 19




      Despite Defendant’s assertion that Plaintiff’s Complaint is filled with “legal

conclusions” or “conclusory statements,” a review of the Complaint shows that it

was pled with extensive factual assertions, which, if taken as true as they must,

fully support all elements of a 42 U.S.C. § 1985 claim against this Defendant.

      Plaintiff asserted that Kennesaw State University (“KSU”) at the time of the

cheerleaders’ kneeling protest had in place policies that protected Plaintiff’s

freedom of expression and that the KSU student handbook provided that the

protections exist even if the expression by the student contradicts “personal views

of university employees and students.” Furthermore, the handbook directs

members of the KSU community from “behaviors that threaten the rights,

freedoms and respect every individual deserves” (Complaint, ¶ 17).

      The Complaint further details the policies of the University System of

Georgia (“USG”), recognizing that rights granted under the First Amendment are

of the “utmost importance” and that the USG “is committed to protecting those

rights.” (¶ 18). The Complaint alleges that it is the policy of the USG to not

regulate the time, place or manner of speech based on the “content” of the speech

(¶ 18).

      The Complaint states that Defendant Ehrhart engaged in a conspiracy with

the other Defendants to deprive Plaintiff of her First Amendment rights of protest

                                              2
        Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 3 of 19




and expression (¶ 49). The Complaint provides details of Ehrhart’s calls to KSU

President Olens and Sherriff Warren, in which Ehrhart and Warren pressured the

state official, Olens, into depriving Plaintiff of her constitutional rights (¶¶ 19, 21,

26, 29). In paragraph 29, Plaintiff Dean specifically alleges this Defendant texted

to Defendant Warren that, “He [Olens] had to be dragged there but with you and I

pushing, he had no choice” and that he thanked Defendant Warren for his

“patriotism.”

      This exchange indicates that all three actors knew the pressure Ehrhart and

Warren put upon Olens was applied for the purpose of violating Plaintiff’s

constitutional rights. Defendants Warren and Ehrhart knew Olens was reluctant to

violate the law, acknowledged that they “dragged him there” and believed that

because of their power in the community, Olens “had no choice.”

      The Complaint alleges that Plaintiff and the four other cheerleaders involved

in the protest are African American and the purpose of their symbolic speech was

to protest perceived police brutality against African Americans (¶ 50). The Plaintiff

further alleges that Defendants Ehrhart and Warren engaged in a conspiracy

because of Plaintiff’s race and the fact that she was protesting “police brutality

against African Americans” (¶ 50).



                                               3
          Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 4 of 19




        Plaintiff in her Complaint and in her actions tied her protests to the well-

publicized protests by professional football players Colin Kaepernick and others

against police brutality. (¶¶ 9-11) Plaintiff alleged that this Defendant knew and

complained to Defendant Whitlock that Plaintiff and the others should not be

allowed to kneel during the national anthem (¶ 19).1 Plaintiff alleged that Ehrhart

called President Olens and told him no cheerleader should be allowed to kneel and

any cheerleader who engaged in a protest during the national anthem should be

“removed from the team.” (¶ 21) 2

        Plaintiff alleged that on October 9, 2017, the Marietta Daily Journal

published an article by columnist Dick Yarborough, in which Yarborough

addressed the cheerleaders directly, stating on personal knowledge, that “these

guys [Warren and Ehrhart] are very upset with you. Don’t say I didn’t warn you.”

(¶ 34).

        Plaintiff alleged Defendant Ehrhart engaged in a conspiracy and took actions

in furtherance of a conspiracy. Plaintiff also alleged loss of protected constitutional




         1
           The national anthem was written by a slaveholder and contains these problematic lines, “No refuge could
save the hireling and slave from the terror of flight or the gloom of the grave.” F. Scott Key, Defense of Fort
M’Henry.
         2
           After this Complaint was filed, this Plaintiff along with three other kneeling cheerleaders were in fact
excluded from the team.
                                                             4
        Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 5 of 19




rights (¶¶ 21, 22, 29, 34, 49, 50, 51), actual compensable and punitive damages as

well as attorney’s fees as a result of this Defendant’s wrongful actions. (¶¶ 52-54).

      In support of his Motion, Defendant Ehrhart makes three arguments. First,

Defendant argues at length that kneeling during the national anthem by

cheerleaders constitutes unprotected “government speech.” (Doc. 14, pages 9 –

19). As explained below in Part A, this argument – implausible on its face – is

contradicted by the evidence and unsupported by case law. In the case relied upon

by Defendant, Mech v. School Board of Palm Beach County, 806 F.3d 1070 (11th

Cir. 2015), a high school prohibited the display on a football field of a banner by a

local dentist who had a side business as a porn star. The standard banner design

proclaimed that the school was a “partner” of each advertiser and, understandably,

the school did not want to be associated with a dentist/porn star. The Court agreed

that the high school had the right not to be associated with this business through its

advertising banners. The content of the speech was not really at issue.

      The facts in the present case involved protest by some of the cheerleaders,

but not all, and was connected to the highly publicized actions of NFL players who

knelt during the national anthem in protest of unfair police treatment of minorities.

The kneeling cheerleaders were all African American. No reasonable person could

see the actions of Plaintiff and the others as anything other than the exercise of

                                              5
          Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 6 of 19




their First Amendment right to protest what they saw as injustice. KSU has never

claimed that the content of Plaintiff’s symbolic speech represented the position of

KSU and this Defendant does not make that assertion.

      Second, this Defendant argues that in a First Amendment context, student

athletes have fewer rights than other students. No case cited supports that broad

assertion. Defendant Ehrhart’s argument, again, is at war with KSU policy itself,

which makes no distinction between students and “student athletes” for purposes of

First Amendment protection. In addition, the case relied upon by Defendant,

Veronia School District 47J v. Acton, 515 U.S. 646 (1995), was a Fourth

Amendment case, not a First Amendment case. The trial judge found that because

of the communal nature of locker rooms, athletes have fewer expectations of

privacy and a school policy of random drug testing in light of perceived problems

of illegal drug use, especially among the athletes, was a permissible and reasonable

search.

      The other two cases that Defendant Ehrhart relies upon, Wildman v.

Marshalltown School District, 249 F.3d 768 (8th Cir. 2001), and Williams v. Eaton,

468 F.2d 1079 (10th Cir. 1972), involved vulgar or disruptive conduct. In this case,

there has never been any suggestion by Defendants or KSU or any other person



                                             6
        Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 7 of 19




that the cheerleaders’ symbolic speech was vulgar or disruptive in any way

whatsoever.

      Third, Defendant Ehrhart contends that he lacked the “racial animus” that he

claims is required under Section 1985. (Doc. 14, pages 22 to 25). As explained in

Part C, below, this argument fails because the text of Section 1985 contains no

requirement that the plaintiff prove racial animus and, even if there were such a

requirement, the Complaint contains plausible and specific allegations of racial

animus. (Complaint, ¶ 50). The implication in Defendant Ehrhart’s brief that he

did not know the race of the Plaintiff and her fellow protesters is itself “not

plausible” and, in any event, should be the subject of discovery.

                          A. GOVERNMENTAL SPEECH

      The seminal Supreme Court decision in Tinker v. Des Moines, 393 U.S. 503,

505 (1969) held that students do not “shed their constitutional rights to freedom of

speech or expression at the schoolhouse gate.” The Tinker Court explained its

reasoning thus, “A student’s rights therefore, do not embrace merely the classroom

hours. When he is in the cafeteria, or on the playing field, or on the campus during

authorized hours, he may express his opinions…if he does so without ‘materially

and substantially interfer[ing] with the requirements of appropriate discipline in the

operation of the school’ and without colliding with the rights of others.” Id. at 512-

                                              7
        Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 8 of 19




513 (emphasis supplied). In Tinker, the Supreme Court upheld the right of students

to wear black armbands at school in protest of the Vietnam War. The holding

recognized and upheld the right of similar protest by athletes “on the playing

field.” As in Tinker, the protests in the present case were silent, respectful and not

disruptive (except perhaps to those who do not believe in the vigorous debates

necessary to a democratic country). Plaintiff made no disrespectful gestures and

when she kneeled, bowed her head and placed her hand over her heart, she

appeared to be praying for this country to fulfill its best self.

      Ignoring the holding and sweep of the Tinker decision, Defendant Ehrhart

argues that the Plaintiff’s actions constituted government speech, not private

speech, and accordingly could be censored by Defendant Olens without violating

the First Amendment. Cheerleaders are acting as representatives of the school,

Ehrhart contends, and cheerleaders’ speech is “speech on behalf of the

government.” (Doc. 10 at page 10). But unlike the defendants in the cases he relies

upon, Defendant Ehrhart is not the government, and there is no evidence that

Kennesaw State University or the Board of Regents believe that the symbolic

speech of the cheerleaders, whether it is kneeling (or silently praying) during the

national anthem should or could be deemed the speech of the University itself.



                                               8
        Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 9 of 19




      To the contrary: It was and is the official policy of the Board of Regents that

“pursuant to the First Amendment, students could not be prohibited from kneeling

during the national anthem so long as the expression was not disruptive.”

(Complaint, ¶ 20). The Board of Regents’ position is obviously the correct one as a

matter of law, and is completely inconsistent with Defendant Ehrhart’s contention

that cheerleaders kneeling during the national anthem constitutes “government

speech.”

      Defendant Ehrhart would wrap himself in the protection of a University rule

– that cheerleaders may or must be prohibited from kneeling during the national

anthem – that has never existed. Plaintiff does not challenge the constitutionality of

a University rule or policy. Instead, Plaintiff alleges that, notwithstanding a

University policy that should have protected her, Defendant Ehrhart, a private

citizen, conspired with the other individual Defendants to deprive Plaintiff of her

First Amendment rights.

      There is nothing in the case of Mech v. School Bd. Of Palm Beach County,

806 F.3d 1070 (11th Cir. 2015), cited at length by the Defendant, that contradicts

any of the principles of Tinker. The cases address entirely different issues.

      The school district in Mech rightly felt that, in the context of advertising

banners at its high school football field, the school would be too closely identified

                                              9
       Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 10 of 19




with Mech himself, a dentist and porn star. The advertising banners carried the

school’s initials and colors; the school controlled the design of the banners; and the

banners identified the school and the advertiser as “Partners in Excellence”. Id. at

1076-1078. The school district in Mech simply did not want to be associated with

Mech, and the Court held that it had the right to protect its brand in the context of

commercial speech. The content of the banner was not really at issue.

      In the Walker case cited by this Defendant, the Supreme Court relied heavily

on the long history of Texas license plates being used to project a purely

governmental message, i.e. the license plate number identifying the owner of the

car for public safety purposes, the name “Texas” in large letters, and government

messages such as “The Lone Star State.” 135 S. Ct. 2239, 2248-2249.

      Any private message by the owner of the car was collateral and insufficient

to overcome the strong governmental purpose of license plates.

      In the present case, Plaintiff and four other African-American cheerleaders

knelt in silent protest. Their message was poignant and controversial. They were

calling attention to their belief in the wrongful nature of police interaction with

minorities in too many encounters in American cities. Their protest was related to

and derivative of nationally publicized protests by African-American NFL players

during the national anthem at NFL games. The cheerleaders’ actions reflected the

                                             10
       Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 11 of 19




value that KSU placed on vigorous and controversial speech under its policies, but

no reasonable person could believe that KSU as an institution endorsed the content

of the speech. The symbolic speech by Plaintiff and the others was designed to

provoke and influence the perspective of the institutions of our society, not

represent their views.

         B. FIRST AMENDMENT RIGHTS OF STUDENT ATHLETES

      As previously noted in Tinker, the Supreme Court specifically protected

school athletes’ rights of free expression “on the playing fields.” Any analysis of

the issue must start from that holding by the Supreme Court.

      The case of Veronia School District 47J v. Acton, 515 U.S. 646 (657) is

distinguishable. First, the case was not decided on a motion to dismiss, but by a

bench trial in which substantial evidence was taken. The Veronia case was also not

a First Amendment case, but a Fourth Amendment case involving random drug

testing of football players. The Court held that there was a widely observed

problem with illicit drug use at the school, especially among athletes, and noted the

decreased expectation of privacy because of the athletes dressing and showering

together in the locker room. Id. at 657. In light of these circumstances, the Court

found the testing to be “reasonable” under the Fourth Amendment. Id. at 664-665.

The analysis was case specific, did not involve First Amendment principles and did

                                             11
             Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 12 of 19




not hold that athletes have fewer First Amendment rights than non-athletes in a

school setting.

         The case of Wildman v. Marshalltown School District, 249 F.3d 768 (8th Cir.

2001) also misses the mark. In that case a member of a girls’ basketball team sent a

letter to her teammates complaining of the coach, used the word “bullshit” in

regard to the coach and implied that the team should band together to force him to

make changes. Id. at 770. The decision of the Court in favor of the school board

was also not on a motion to dismiss, but on summary judgment after a full record

had been developed. The Court ruled that though students do have “constitutional

rights to freedom of speech or expression,” that the school board had the authority

to prohibit “the public expression of vulgar or offensive statements.” Id. at 771.

The Court also found that the plaintiff’s speech could be considered

“insubordinate” under the basketball team handbook and school’s handbook for

student conduct. Id.3 Nothing in the case suggested that athletes had lesser rights

than other members of the student body.

         The case of Williams v. Eaton, 468 F.2d. 1079 (10th Cir.1972) was also

decided after an evidentiary hearing and the receipt of affidavits by the trial court.


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          Ehrhart’s brief is filled with statements of purported fact – without any citation – regarding what rights
athletes might generally relinquish as a result of being on a team. These arguments have no place in a motion to
dismiss.
                                                              12
       Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 13 of 19




In this case, several African-American football players wanted to wear black arm

bands in the University of Wyoming’s game against Brigham Young University.

The purpose was to protest what the football players perceived as racist tenets of

the Mormon Church. The coach refused to allow the arm bands and, when the

players persisted, he tossed them off the team. The players sued.

      The case had a complex procedural history, but the Tenth Circuit ultimately

decided under Tinker principles that wearing the arm bands as part of a protest

against the Mormon religion in the context of a football game against a Mormon

school constituted “hostile expressions against the religious beliefs of others” and

was properly prohibited under Tinker as excessively disruptive. Id. at 1084. Not

only did the Tenth Circuit not rule that athletes had fewer rights than other

students, it implicitly re-affirmed Tinker principles in the context of athletes.

      An odd statement is made on page 21 of Defendant Ehrhart’s brief that

Plaintiff “retained the right to kneel inside the tunnel of the stadium prior to the

start of the game.” This reflects a fundamental misunderstanding of speech,

expression and protest essential to a vigorous democracy. This country was

founded in protest at the Boston Tea Party. There was nothing polite or safe about

that event nor in subsequent protests by women at Seneca Falls in 1848, by labor in



                                              13
       Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 14 of 19




the 1890s or by Civil Rights activists in the 1950s and 60s. All of these events

made our country better, stronger and more democratic.

      As previously noted, KSU policies prohibit restrictions on the “time, place

or manner of speech based on the content of the speech.” The Tinker Court

addressed the point explicitly, “Freedom of expression would not truly exist if the

right could be exercised only in an area that a benevolent government has provided

as a safe haven for crackpots…. [W]e do not confine the permissible exercise of

First Amendment rights to a telephone booth or the four corners of a pamphlet, or

to supervised and ordained discussion in a school classroom.” Tinker at 513.

                               C. RACIAL ANIMUS

      Plaintiff first notes that the phrase “racial animus” is nowhere to be found in

the text of 42 U.S.C. § 1985 (3). In the case cited by this Defendant, the quote

provided to this Court was incomplete. In Lucero v. Operation Rescue of

Birmingham, 954 F.2d 624, 628 (11th Cir. 1992), the Eleventh Circuit stated that

the plaintiff must show a deprivation of rights under a constitutional provision and

some “racial or perhaps otherwise class-based, invidiously discriminatory animus

behind the conspirator’s action.” Id. at 628. For some inexplicable reason the

phrase “or perhaps otherwise class-based,” was left out of Defendant’s brief. (Doc.

14, page 2).

                                            14
       Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 15 of 19




      This is important because the Supreme Court has pointedly refused to limit

the claims under § 42 U.S.C. 1985 (3) to race-based animus. In United

Brotherhood of Carpenters and Joiners v. Scott, 463 U.S. 825 (1983), the Supreme

Court addressed the issue of the scope of § 1985 (3). The Court considered the

issue of whether § 1985 (3) extended its protection of political groups such as

Republicans or Northerners who came South and were generally supportive of the

Freedman to be a “close question.” Id. at 836. The Court noted the legislative

history at the time of passage in favor of a broader coverage of the statute beyond

race. Id. at 836-837. The Court notably did not resolve the question of whether

political affiliations are protected from invidious discriminatory animus through a

conspiracy under 42 U.S.C. § 1985 (3), though it ruled against protection of those

sharing similar economic views. Id. at 837.

      In the case of Means v. Wilson, 522 F.2d 833 (10th Cir. 1985), the Tenth

Circuit allowed the application of §1985 (3) in a non-race case involving

complaints of election irregularities in a Native American election dispute.

Interference with constitutional voting rights was alleged, and Native American

supporters of two different Native American candidates were both plaintiffs and

defendants in the case. As noted in the dissent, “Race is not involved in this

contest.” Id. at 842. The Court ruled that the plaintiffs stated a cause of action

                                              15
       Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 16 of 19




under 42 U.S.C. § 1985 (3) in that the group of plaintiffs in the case “were a class

against whom…the defendants discriminated because of their class membership.”

Id. at 840. Thus a class that was political and not racial was recognized as

protected under § 1985 (3) in this Circuit Court decision.

      It is an open question whether animus against Plaintiff because she is a

supporter of the “Black Lives Matter” movement – regardless of her race – is

actionable under 42 U.S.C. § 1985 (3).

      Even if the statute were so limited, there are ample allegations in the

Complaint of animus and race-based animus. All of the kneeling cheerleaders were

African American. (Complaint, ¶ 50) They were protesting perceived injustices in

interactions between police and minorities. Id. The kneeling was related to the

protests of Colin Kaepernick and other African-American NFL players who

kneeled during the national anthem to protest claimed injustices to black citizens at

the hands of police around the country. (Id. ¶ 9-11) These protests attracted

tremendous publicity, and Plaintiff asserts that the connection to the NFL protests

is what caused the furious activities by this Defendant and Sheriff Warren to

“drag” and “push” President Olens to take the unlawful action he did in removing

Plaintiff from the field during the national anthem so she would have no forum for

her protected speech. (¶¶ 9-11, 29, 50-52).

                                              16
          Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 17 of 19




         The allegations of racial animus in the Complaint easily meet the plausibility

standard under Ashcroft v. Iqbal, 556 U.S. 662 (2009) and the elements of a

Section 1985 (3) claim.4

                                               CONCLUSION

         In his Motion to Dismiss for Failure to State a Claim, Defendant Ehrhart

spends almost no effort in actually analyzing the detailed allegations of the

Plaintiff’s Complaint. Instead, without a record or discovery, the Defendant argues

that he should win on the merits. Such arguments are inappropriate at this stage

and therefore Plaintiff asks that this Court deny Defendant Ehrhart’s Motion to

Dismiss under Fed R. Civ. P. 12 (b)(6).

         This 30th day of October, 2018.



 /s/ Randolph A. Mayer                                      /s/ Bruce P. Brown
 Randolph A. Mayer                                          Bruce P. Brown
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         4
           Regarding plausibility, the claim by this Defendant suggesting that he did not know the race of Plaintiff
Dean and the other protesters truly strains plausibility. The nature of the protest was widely reported in the press.
Sherriff Warren was at the game, and the two exchanged numerous text messages the following week. In any event,
this should be a matter for discovery.


                                                             17
       Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 18 of 19




                     CERTIFICATE OF COMPLIANCE


      I hereby certify that the foregoing Brief in Response to Defendant Earl

Ehrhart’s Motion to Dismiss has been prepared in accordance with the font type

and margin requirements of LR 5.1, using font type of Times New Roman and a

point size of 14.

                                       /s/ Randolph A. Mayer
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                                           18
       Case 1:18-cv-04224-TCB Document 16 Filed 10/30/18 Page 19 of 19




                         CERTIFICATE OF SERVICE

      This is to certify that I have this day caused the foregoing Brief in Response

to Defendant Earl Ehrhart’s Motion to Dismiss to be served upon all other parties

in this action by via electronic delivery using the PACER-ECF system.

      This 30th day of October, 2018.

                                        /s/ Randolph A. Mayer
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                                            19
